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                     UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS

__________________________________________
TOGETHER EMPLOYEES, by                     )
Individual Representatives,                )
ROBERTA LANCIONE                          )
JOYCE MILLER, MARIA DIFRONZO,              )
MICHAEL SACCOCCIO,                         )
ELIZABETH BIGGER,                          )
NATASHA DICICCO,                           )
NICHOLAS ARNO and                          )       CIVIL ACTION NO.
RUBEN ALMEIDA,                             )
Plaintiffs                                 )
                                           )
v.                                         )
                                           )
MASS GENERAL BRIGHAM                       )
INCORPORATED                               )
Defendant                                 )

                      COMPLAINT AND JURY DEMAND

                                INTRODUCTION

   1. The issue in this case is defendant Mass General Brigham Incorporated’s

      violations of Title VII and the Americans with Disabilities Act (“ADA”) in

      wrongfully denying religious and disability accommodations to its employees.

   2. Rather than adhering to federal law, the defendant instead created its own

      system-wide “position” and “new process” as to the granting of religious and

      medical accommodations for a newly imposed vaccination policy.

   3. Defendant wrongly denied hundreds of its employees, many of whom fought

      on the front lines saving lives and fighting the spread of COVID-19 from the

      beginning of the pandemic to present, reasonable religious and disability

      accommodations that are protected by the aforementioned federal laws.

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    4. All plaintiffs have submitted a “Charge of Discrimination” form to the EEOC,

       with some already having obtained a “Notice of Right to Sue,” stating that

       the EEOC will likely be unable to complete administrative processing within

       180 days.

    5. Plaintiffs bring this action prior to the remedy provided under 42 U.S.C.

       2000e-5(f)(2) by motion for preliminary injunction and by a showing of

       irreparable harm, justifying the need to seek immediate preliminary

       injunctive relief in advance of the EEOC’s completion of its investigation or

       issuance of right to sue letters. 1”


                                            PARTIES

    6. Plaintiff, Together Employees is an unincorporated association comprised of,

       at the date of this filing, 229 employees of Mass General Brigham Incorporated,

       all who requested religious accommodations, disability accommodations (or

       both) and were denied without a showing of undue hardship.

    7. Plaintiff Roberta Lancione is an employee of defendant who was denied both a

       religious disability accommodation after submitting requests for both and

       documentation to the defendant detailing her history of angio-edema from

       prior vaccination and her current treatment for Chronic Lymphocytic

       Leukemia and of her sincerely held religious beliefs.

    8. Plaintiff Joyce Miller is an employee of defendant who was denied a disability



1The First Circuit has held that plaintiffs who show irreparable injury to justify injunctive relief
prior to the remedy provided under Title VII need not wait for the EEOC’s final review as outlined in
42 U.S.C. § 2000e–5(f)(2). Bailey v. Delta Air Lines, Inc., 722 F.2d 942, 944 (1st Cir. 1983).

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   accommodation and a religious accommodation after submitting a request to

   the defendant detailing her sincerely held religious beliefs and a signed form

   from her physician to support her request for disability accommodations.

9. Plaintiff Maria DiFronzo is an employee of defendant who was denied a

   disability accommodation after submitting evidence that she is pregnant.

10. Plaintiff Michael Saccoccio is an employee of defendant who was denied a

   disability accommodation after submitting three letters from two doctors

   detailing his inability to receive the vaccine.

11. Plaintiff Elizabeth Bigger is a physician and employee of defendant and a was

   denied a religious accommodation after submitting a request detailing her

   sincerely held religious beliefs.

12. Plaintiff Natasha DiCicco is an employee of defendant who was denied a

   religious accommodation after requesting an accommodation and detailing her

   sincerely held religious beliefs to the defendant.

13. Plaintiff, Nicholas Arno, is an employee of defendant who was denied a

   religious accommodation after requesting an accommodation and detailing his

   sincerely held religious beliefs to the defendant.

14. Plaintiff, Ruben Almeida, is an employee of defendant who had been given

   religious accommodation by defendant in the past yet was denied a religious

   accommodation after sending a request and detailing his sincerely held

   religious beliefs to the defendant.

15. Defendant, Mass General Brigham Incorporated is a Massachusetts



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   Corporation with a principal address listed as 800 Boylston Street in Boston,

   Massachusetts. It has fourteen hospitals and several other medical facilities

   throughout the Commonwealth of Massachusetts.

                JURISDICTION, VENUE AND STANDING

16. Plaintiffs bring this action for disability discrimination and retaliation under

   the Americans with Disabilities Act (hereinafter “ADA”) and religious

   discrimination and retaliation under Title VII of the Civil Rights Act, with all

   claims arising within the context of plaintiff’s employment by the defendant.

17. All plaintiffs are employees of the defendant in various hospitals and facilities

   and either had their religious or medical accommodations wrongfully denied

   by the defendant.

18. Plaintiffs are seeking declaratory and preliminary injunctive relief under 28

   U.S.C. § 2201 and § 2202.


                         FACTUAL BACKGROUND

19. On June 24, 2021, defendant’s President and CEO, Ann Klibanski,

   announced that all employees would be required to receive one of three

   COVID-19 vaccines. A true copy of the announcement is included herewith as

   Exhibit A.

20. The announcement initially stated that exemptions would be available for

   “medical and religious reasons” and for “employees who are pregnant or who

   intend to become pregnant.”




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21. Defendant provided its employees with a “Covid Vaccine Medical Exemption

   Request Form 2021” for those seeking medical accommodations, which

   allowed for a temporary exemption for pregnancy stating, “According to the

   CDC and American College of Obstetrics and Gynecology, the COVID-19

   vaccination is safe and effective for pregnant women and to protect the baby

   after it is born. However, pregnancy is a unique personal circumstance. We

   encourage those pregnant to discuss this issue with their medical provider.”

   A true copy of the Covid Vaccine Medical Exemption Request Form 2021 is

   included herewith as Exhibit B.

22. For any employees seeking religious exemptions to the new policy, defendant

   purportedly established a committee to review the submitted religious

   exemptions.

23. The defendant’s required religious exemption form was an online form with

   several check box questions and a small, one line text box with directions

   stating “In the space provided, please (1) identify your sincerely held religious

   belief, practice or observance and (2) explain why it prevents you from

   receiving a COVID-19 vaccine. Please note that you may be required to

   provide additional information or supporting documentation to support your

   request for an exemption.” A true copy of the exemption form is attached

   herewith as Exhibit C.

24. The form contained no option to provide any supporting documentation, such

   as a personal statement or a clergy letter.



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    25. Defendant then denied the plaintiffs’ requests prior to allowing them to

       provide supporting documents for their accommodation requests.

    26. These denials contained virtually no discussion, other than to state that

       plaintiffs failed to state a sincerely held religious belief, or clearly

       misconstruing plaintiffs’ beliefs to fit a reason for denial, followed by a link to

       where plaintiffs could get vaccinated.

    27. Defendant’s offering of medical and religious exemptions was illusory and not

       based in accordance with federal law, evidenced by (and not limited to) the

       following:

           a. Defendant instructed its network physicians not to draft letters in

              support of medical accommodations for their patients (Exhibit D);

           b. Defendant amended their medical accommodation form, removing the

              option for a pregnancy accommodation after promising pregnant

              employees that they would be granted accommodations (Exhibit E);


           c. Defendant would not disclose to its employees the individuals that

              comprised defendant’s exemption committee, their qualifications, or

              what the review process would entail 2;

           d. Defendant refused to accommodate employees that it had

              accommodated in the past, citing a “new process” that they had created

              (Exhibit F);



2On occasion, some members of the committee would respond using their names instead of the
standard signature “The MGB Vaccination Committee,” however the committee members, their
qualifications, and the evaluation criteria were never disclosed.

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 e. Defendant sent out an email to unit supervisors (Exhibit G) stating

    that they should encourage employees who had their religious

    accommodations denied to instead get vaccinated;

 f. This same email provided talking points that supervisors were to use

    with their subordinates, including assurances that their requests were

    “carefully reviewed by a committee made up of individuals from across

    Mass General Brigham,” which was "charged with reviewing requests

    and determining whether each request was consistent with the

    system’s position around granting exceptions” (emphasis added).

    Further, supervisors were to assure their subordinates that “each

    request was evaluated based on all information provided, and because

    of that there is no appeal process.”

 g. These instructions were given despite defendant deliberately

    withholding the identity of those who sat on the committee and

    withholding “the system’s position” for granting accommodations;

 h. Additionally, defendant deliberately failed to provide its employees

    with an option to provide supporting information with their

    accommodation requests before its anonymous committee “evaluated

    based on all information provided” and denied the requests;

 i. Defendant would not allow for any appeals to denials of religious and

    disability accommodations (Exhibit H), nor did defendant engage in

    any meaningful interactive process with any of the plaintiffs; and



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         j. Defendant granted many accommodations for employees with nearly

           identical accommodation requests (Exhibit I) yet denied plaintiffs’

           accommodation requests with no explanation as to why.



     MASS GENERAL BRIGHAM’S DISABILITY DISCRIMINATION

28. At least 36 Plaintiffs requested reasonable accommodations for disabilities

   under the ADA, including Plaintiffs Lancione, Miller, DiFronzo and

   Saccoccio.

29. Plaintiff DiFronzo is pregnant and requested an accommodation, as was

   originally offered by defendant. She was subsequently denied an

   accommodation (Exhibit J).

30. Plaintiff Lancione suffered from angio-edema from prior vaccination and is

   currently treating for Chronic Lymphocytic Leukemia. Taking these vaccines

   puts her at risk of serious physical harm, which would significantly impair

   several major life functions, not the least of which would be working (Exhibit

   K).

31. Plaintiff Saccoccio obtained three letters from two doctors stating that he

   should not receive the vaccine because he has severe PTSD and childhood

   trauma, which would trigger his PTSD and substantially impact his major

   life functions, not the least of which would be working (Exhibit L).

32. Plaintiff Miller submitted a letter from her doctor supporting her need for an

   exemption from vaccination and was subsequently denied. She is currently on



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   a continuous leave of absence due to severe mental and emotional toll that

   this situation has taken on her and has received behavioral therapy

   treatment for these issues (Exhibit M).

33. Plaintiff Miller is not the only plaintiff undergoing treatment for the

   emotional and psychological harm that the denial and impending decision

   has caused (Exhibit N).

34. Further, defendant did not engage in any meaningful interactive process with

   plaintiffs who asserted their medical disabilities, which is a protected

   activity.

35. In lieu of an interactive process and in lieu of any reasonable

   accommodations, defendant is instead placing plaintiffs on unpaid leave on

   October 20, 2021, to be terminated on November 5, 2021 if they remain

   unvaccinated.


      MASS GENERAL BRIGHAM’S RELIGIOUS DISCRIMINATION


36. To date, defendant has not stated what their “position on granting

   exceptions” is for religious accommodations.

37. At least 193 Plaintiffs, including plaintiffs Bigger, DiCicco, Arno and

   Almeida, whose affidavits are included as Exhibits O-R, submitted a religious

   accommodation request, which is a protected activity.

38. These plaintiffs have sincerely held religious beliefs, rooted in Biblical

   Scripture and received by them through prayer.



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39. Plaintiffs seek to make daily decisions, including those regarding vaccination

   and other medical decisions, through prayer and by reading the Bible.

40. These sincerely held and prayerfully developed religious beliefs preclude

   plaintiffs from taking the COVID-19 vaccines.

41. For plaintiffs to disobey sincerely held religious beliefs would violate their

   conscience. See John 14:15 (NIV): “If you love me, keep my commands,” Acts

   5:29 (KJV) “…We ought to obey God rather than men.”

42. All of the plaintiffs had their religious accommodation requests denied,

   without an opportunity to appeal, and without any meaningful interactive

   process. (See ¶ 26 regarding denial emails. An example of these type of email

   exchanges has also been included as Exhibit S).

43. Plaintiffs submitted their request on an online exemption form that did not

   allow for submission of supporting documents.

44. Not only were plaintiffs unable to submit supporting documents, but they

   were also not informed as to who was reviewing their submissions. Thus,

   they had no way of providing supporting documents through any other

   platform until they were denied.

45. Plaintiffs were therefore reduced to an attempt at describing their personal

   religious beliefs in a text box which visibly displayed, in the case of plaintiff

   DiCicco, a total of eight words.




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46. Once these forms were submitted (by design, without the option to submit

   supporting documents), defendant then denied plaintiffs requests for

   religious accommodations.

47. Defendant then emailed its department supervisors, instructing them to use

   talking points with subordinates who had been denied religious exemptions,

   stating “each request was evaluated based on all information provided, and

   because of that there is no appeal process.”

48. In other words, defendant is simply paltering: It claims that it evaluated

   accommodation requests based on “all the information provided,” which in

   itself is true, however, only because defendant made it impossible for

   plaintiffs to provide supporting documents by not allowing for their

   submission on the exemption form and by not informing plaintiffs of who was

   reviewing their request so that substantive information could be sent to those

   individuals.

49. Thus, plaintiffs’ accommodation requests (which defendant effectively

   reduced to what plaintiffs could fit into a small, one line text box), were then

   swiftly denied, with the blame placed on the plaintiffs, and the façade of a

   legitimate process being published to defendant’s supervisors and employees.

50. Each plaintiff who sought a religious exemption was subject to the same

   procedure and was not afforded an appeal or any meaningful interactive

   process.




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    51. Plaintiffs who failed to receive the vaccination are to be placed on unpaid

       leave on October 20, 2021, and are facing termination on November 5, 2021,

       if they remain unvaccinated.


                                 COUNT I
(Disability Discrimination – Failure to Make Reasonable Accommodations)

    52. Plaintiffs repeat and reallege paragraphs 1-43 of this Complaint.

    53. Plaintiffs who sought disability accommodations, all of whom are “qualified

       individuals” under the definition of 42 U.S.C. 12111 3, requested reasonable

       accommodations for their specific disabilities with respect to defendant’s

       vaccination policy in writing by submitting defendant’s required exemption

       form.

    54. Defendant has (and had) a duty as plaintiffs’ employer under 41 U.S.C.

       12112(b)(5)(a) to make “reasonable accommodations to the known physical or

       mental limitations of an otherwise qualified individual with a disability.”

    55. Defendant was and is “obligated to provide a reasonable accommodation (as

       long as it is not unduly burdensome) where a protected employee has requested

       an accommodation, or the employer otherwise knew that one was needed.”

       Murray v. Warren Pumps, LLC, 821 F.3d 77, 84 (1st Cir. 2016).

    56. Defendant failed to provide any reasonable accommodations upon reasonable

       requests by plaintiffs.

    57. Defendant failed to assert an undue hardship that would be caused by


3Plaintiffs “with or without reasonable accommodation, can perform the essential functions of the
employment position that such individual holds or desires.” Id.

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       accommodating plaintiffs’ disabilities.

    58. Despite failing to assert an undue hardship, defendant in fact would not be

       “unduly burdened” or face hardship in accommodating plaintiffs’ requests 4, not

       only because it would not financially or operationally burden defendant to

       accommodate plaintiffs 5, but because defendant did accommodate some

       employees while others (including plaintiffs), it chose not to, despite the

       accommodation requests being similar or nearly identical.

    59. Defendant also failed to engage in any meaningful discussion, interactive

       process     or    appeal     with    the    plaintiffs    who     requested      reasonable

       accommodations.

    60. All plaintiffs were and are ready, willing and able to abide by any reasonable

       accommodations to defendant’s policy including those safety precautions

       already in effect.

    61. Plaintiffs are all facing adverse employment action, namely being placed on

       unpaid leave and subsequently terminated, due to their inability to adhere to

       the defendant’s policy because of their disabilities.


                                        COUNT II
                                (Religious Discrimination)



4
  Defendant’s most recent 990T form available via the IRS
(https://apps.irs.gov/pub/epostcard/cor/043230035_201909_990T_2020120117460444.pdf) shows that
it has assets of over six billion and as of August 10, 2021, defendant brought in revenues of $4.1
billion in the third quarter of 2021 alone: https://www.beckershospitalreview.com/finance/mass-
general-brigham-posts-2-9b-gain-over-9-months.html. Therefore, under § 12111’s definition of
“undue hardship,” requiring significant difficulty or expense, defendant cannot (and did not) assert
that the accommodations would be unduly burdensome.
5
  https://www.massnurses.org/bargaining-unit-listings/p/openBulletin/12231

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62. Plaintiffs repeat and reallege paragraphs 1-61 of this Complaint.

63. Title VII prohibits “discriminat[ion] against any individual with respect to his

   compensation, terms, conditions, or privileges of employment, because of such

   individual's   race,   color, religion,   sex,   or   national   origin.”   Xiaoyan

   Tang v. Citizens Bank, N.A., 821 F.3d 206, 215 (1st Cir. 2016) quoting from

   42 U.S.C. § 2000e–2(a)(1).

64. Defendant had a duty to “[O]ffer a reasonable accommodation to resolve a

   conflict between an employee's sincerely held religious belief and a condition

   of employment, unless such an accommodation would create an undue

   hardship for the employer's business.” Cloutier v. Costco Wholesale Corp., 390

   F.3d 126, 133 (1st Cir. 2004).

65. Once an employee demonstrates that their religious belief conflicts with an

   employment condition, “the burden then shifts to the employer to show that it

   offered a reasonable accommodation or, if it did not offer an accommodation,

   that doing so would have resulted in undue hardship.” Id.

66. Plaintiffs requesting religious accommodations submitted a request for

   religious accommodation to the defendant’s vaccination policy, informing

   defendant that its vaccination policy was in conflict with their sincerely held

   religious beliefs.

67. These requests were submitted via an online form, as required by defendant.

68. Defendant neither offered to accommodate the plaintiffs nor showed that an

   accommodation would have resulted in “undue hardship.”



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69. Despite failing to assert an undue hardship, defendant in fact would not be

   “unduly burdened” or face hardship in accommodating plaintiffs’ requests, not

   only because it would not financially or operationally burden defendant to

   accommodate plaintiffs, but because defendant did accommodate some

   employees while others (including plaintiffs), it chose not to, despite the

   accommodation requests being similar or nearly identical.

70. Defendant also failed to engage in any meaningful discussion, interactive

   process   or   appeal   with    the    plaintiffs   who   requested   reasonable

   accommodations.

71. All plaintiffs were and are ready, willing and able to abide by any reasonable

   accommodations to defendant’s policy including those safety precautions

   already in effect.

72. Plaintiffs are all facing adverse employment action, namely being placed on

   unpaid leave and subsequently terminated, due to their inability to adhere to

   the defendant’s policy because of their religious beliefs.


                                   COUNT III
                                  (Retaliation)

73. Plaintiffs repeat and reallege paragraphs 1-72 of this Complaint.

74. All plaintiffs were engaged in a protected activity, whether requesting

   accommodation for religious beliefs or for disability.

75. Defendant has taken adverse action against plaintiffs, informing them that

   they will be placed on unpaid leave on October 20, 2021 and terminated on

   November 5, 2021 if they do not comply with defendant’s policy, which would

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   result in either a violation of conscience (Title VII plaintiffs) or a risk to their

   physical safety (ADA plaintiffs).

76. The adverse action taken by defendant would not have occurred but for a

   retaliatory motive against plaintiffs for requesting their respective

   accommodations.


                             PRAYER FOR RELIEF


77. Declaration that defendant violated Title VII in discriminating against

   plaintiffs by failing to offer reasonable accommodation for their

   religious beliefs;

78. Declaration that defendant discriminated against plaintiffs by failing

   to reasonably accommodate for plaintiffs’ disabilities.

79. Declaration that plaintiffs were engaged in protected activity when

   they requested reasonable accommodation and when they refused to

   comply with a perceived Title VII and ADA violation;

80. Enjoin defendant from taking adverse employment action against

   plaintiffs;

81. Enjoin defendant from enforcing its vaccination policy against

   plaintiffs until either their religious beliefs and disabilities are

   accommodated, the EEOC completes its investigation and/or issues

   every plaintiff a right to sue, or a verdict is rendered by a jury; and

82. Attorney fees and costs, plus any other relief this Court deems proper.



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                                  Plaintiffs, by their attorneys,

                                    /s/ Ryan P. McLane
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     EXHIBIT A
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Mass General Brigham
mandates COVID-19
vaccination for all
employees
June 24, 2021 Press Releases Our People COVID-19




Mass General Brigham today announced that it will require its 80,000 employees to
be vaccinated against COVID-19 once the U.S. Food and Drug Administration
(FDA) grants approval of one of the three vaccines. More than 85 percent of Mass
General Brigham employees have already been vaccinated—one of the highest
rates nationwide among health care systems.
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     “Over the past 16 months we have come together as a
     system to care for our patients and each other as
     never before and the efforts of our employees have
     been extraordinary and inspiring. The evidence of
     COVID-19 vaccine safety and effectiveness is
     overwhelming. Getting vaccinated is the single most
     important and responsible step each of us can take to
     put an end to this devastating pandemic and protect
     patients, families, and each other.”
     Anne Klibanski, MD
     President and Chief Executive Officer
     Mass General Brigham




As the largest academic health system and private employer in Massachusetts,
Mass General Brigham has administered more than 450,000 vaccine doses to
patients and employees, helping to make Massachusetts among the top-vaccinated
areas in the country. Clinical data and trends clearly demonstrate that the vaccines
have proven central to reducing the spread of the virus, hospitalizations and deaths
across the Commonwealth.

Mass General Brigham joins many other leading health care systems in the United
States in making COVID-19 vaccination a requirement, ensuring that patients are
being cared for in the safest clinical environment possible. The decision is
consistent with Mass General Brigham’s approach to the flu vaccine, which became
a requirement in 2018. As with other vaccines, employees will be able to request
exemption for medical and religious reasons and employees who are pregnant or
who intend to become pregnant may also request an exemption. A deadline for
vaccination will be determined after FDA approval.

Since the beginning of the pandemic, Mass General Brigham has treated nearly
19,000 COVID-19 positive inpatients and administered more than 1.1 million
COVID-19 tests. At the same time, Mass General Brigham researchers have worked
around the clock to develop and assess new approaches to test for, treat, and
prevent COVID-19.
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Media Contact
Mass General Brigham:
Rich Copp rcopp@partners.org
Bridget Perry bperry7@partners.org



About Mass General Brigham
Mass General Brigham is an integrated academic healthcare system, uniting great
minds in medicine to make life-changing impact for patients in our communities and
people around the world. Mass General Brigham connects a full continuum of care
across a system of academic medical centers, community and specialty hospitals, a
health insurance plan, physician networks, community health centers, home care,
and long-term care services. Mass General Brigham is a non-profit organization tha
is committed to patient care, research, teaching, and service to the community. In
addition, Mass General Brigham is one of the nation’s leading biomedical research
organizations and a principal teaching affiliate of Harvard Medical School. For more
information, please visit massgeneralbrigham.org.




Related Articles




Press Releases 10.14.2021      Press Releases 10.14.2021

Mass General Brigham           Mass General Brigham
Announces $25 million in       Names Marcela del
New Funding for Scholars       Carmen President of Mass
Program                        General Physicians
                               Organization
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     EXHIBIT B
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                                   COVID VACCINE MEDICAL EXEMPTION REQUEST FORM 2021

      Please Print:
      First Name:                                                         Last Name:

      PeopleSoft/Employee ID #:_________________________                 Date of Birth:             /      /

      Please have your provider return this completed form to Occupational Health at the email listed at the bottom of the form.
      Dear Health Care Provider,

      Mass General Brigham and its affiliates are committed to providing a safe work environment and to patient safety.
      Transmission of the SARS-CoV-2 virus can carry a significant risk for patients, co-workers, and visitors. COVID-19
      vaccination is an important tool to help control the pandemic and is strongly recommended by the CDC. Therefore,
      all Mass General Brigham personnel are required to receive the COVID-19 vaccination or have an approved
      exemption. Medical exemption is allowed only for recognized medically supported reasons.

      Your patient has indicated that they have a medical reason or contraindication not to be vaccinated. Please
      document if you believe that there is a medical reason or contraindication below.

          History of severe or immediate allergic (anaphylactic) reaction to a previous dose or component of a
          COVID-19 vaccine. We encourage consultation with an allergy specialist.

          Vaccine name or vaccine component: ________________                          Date Received: ______________

          Description of reaction:____________________________________________________

          Temporary exemption due to current pregnancy: Estimated delivery date: _________________________
          According to the CDC and American College of Obstetrics and Gynecology, the COVID-19 vaccination is safe and
          effective for pregnant women and to protect the baby after it is born. However, pregnancy is a unique personal
          circumstance. We encourage those pregnant to discuss this issue with their medical provider.

          Temporary exemption due to administration of COVID-19 monoclonal antibodies:

          Date of last dose administered: ____________________________________

          Temporary exemption due to history of multisystem inflammatory syndrome:

          Date of diagnosis: ____________________________________

        Other medical reasons (Please describe below): Requests will be reviewed on a case-by-case basis. Clarification
        from the requesting employee and/or their physician may be requested in writing or by phone.
        _____________________________________________________________________________________
        _____________________________________________________________________________________

I certify that my patient has the above contraindication and requests the medical exemption.

Provider Name: _____________________________                                           Date: ____________________
                       (Please print clearly)

Provider Signature: __________________________                                         License #: ____________

Telephone #: _______________________

                             Please email this completed form to PHSOHSCOVID19@partners.org
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                                                                                                        Question

                          Name: Lori A Munro |                                          | PCP:                       , MD




       RE: Non-Urgent Medical
       Question                                                             Melissa Ann Burke


                                                       All messages have been loaded.

                              Aug 19, 4:35 PM

            Dear Lori,

            The American College of Cardiology and MassGeneral Brigham is strongly discouraging
            cardiologists to write such letters at this time. I will have to defer back to your PCP.

            Thank you for your understanding,




                                                                 Showing 1 of 1

       Conversations remain active for 30 days. Once 30 days have passed since the most recent message, you will need to
       send a new message instead.



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https://patientgateway.massgeneralbrigham.org/MyChart-PRD/app/communication-center/conversation?id=WP-24G245g6mds5Cx2MpwJoLWRQ-3D-3D-24yG-2Fg…   1/1
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                                   COVID VACCINE MEDICAL EXEMPTION REQUEST FORM 2021

      Please Print:
      First Name:                                                         Last Name:

      PeopleSoft/Employee ID #:_________________________                 Date of Birth:             /      /

      Please have your provider return this completed form to Occupational Health at the email listed at the bottom of the form.
      Dear Health Care Provider,

      Mass General Brigham and its affiliates are committed to providing a safe work environment and to patient safety.
      Transmission of the SARS-CoV-2 virus can carry a significant risk for patients, co-workers and visitors. COVID-19
      vaccination is an important tool to help control the pandemic and is strongly recommended by the CDC. Therefore,
      all Mass General Brigham personnel are required to receive the COVID-19 vaccination or have an approved
      exemption. Medical exemption is allowed only for recognized medically supported reasons.

      The CDC encourages all pregnant people or people who are thinking about becoming pregnant and those
      breastfeeding to get vaccinated to protect themselves from COVID-19. The vaccines are safe and effective, and it
      has never been more urgent to increase vaccinations as we face the highly transmissible Delta variant and see severe
      outcomes from COVID-19 among unvaccinated pregnant people.

      Your patient has indicated that they have a medical reason or contraindication not to be vaccinated. Please
      document if you believe that there is a medical reason or contraindication below.

          History of severe or immediate allergic (anaphylactic) reaction to a previous dose or component of a
          COVID-19 vaccine. We encourage consultation with an allergy specialist.

          Vaccine name or vaccine component: ________________                          Date Received: ______________

          Description of reaction:____________________________________________________

          Temporary exemption due to administration of COVID-19 monoclonal antibodies:

          Date of last dose administered: ____________________________________

          Temporary exemption due to history of multisystem inflammatory syndrome:

          Date of diagnosis: ____________________________________

        Other medical reasons (Please describe below): Requests will be reviewed on a case-by-case basis. Clarification
        from the requesting employee and/or their physician may be requested in writing or by phone.
        _____________________________________________________________________________________
        _____________________________________________________________________________________

I certify that my patient has the above contraindication and request the medical exemption.

Provider Name: _____________________________                                           Date: ____________________
                       (Please print clearly)

Provider Signature: __________________________                                         License #: ____________

Telephone #: _______________________

                             Please email this completed form to PHSOHSCOVID19@partners.org
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Joyce Miller                                                                        October 8, 2021
65 Winterberry Lane
Tewksbury, MA 01876

Dear Joyce:

This letter is to inform you that your request for a Personal Illness leave under the Family Medical Leave Act (FMLA)
beginning 10/15/2021 and returning on 1/03/2022 has been approved.

MA PFML: You may also be eligible for a Personal Illness leave under Massachusetts Paid Family and Medical Leave
(MAPFML). Unum administers the MAPFML medical benefit and will notify you of pay and job protection. MAPFML leave
runs concurrently with other federal and state laws, including FM LA. If you live and work outside of Massachusetts, your state
may offer a paid leave program. Contact the HR Support Center for more details or visit Ask My HR and search “Remote”.

This letter contains information about your pay, benefits, and return to work instructions.

Personal Medical Leave Program: MAPFML benefits are provided to employees working in Massachusetts who are eligible
for benefits under the state law. In addition to MAPFML, short-term disability (STD) is provided to benefit-eligible employees
for personal illness. MAPFM L personal medical leave and Short-term disability (STD) are both ad min istered by Unu m, who will
coordinate both programs to ensure you receive the maximu m benefit. You may be eligible to supplement the benefits received
under the personal medical leave program with accrued paid time off to receive up to 100% income replacement.

Your STD benefit is 60% and the policy number is 955959.

Please contact Unum at 1-877-217-5491 to initiate a claim. If approved, benefits begin on the second workweek of your leave.

Pay: Payments from the personal medical leave program and accrued paid time off bank(s) will be paid through your regular
paycheck. For more details review the enclosed pay procedures.

Benefits: Benefits: During your FMLA absence, your current benefits will continue as if you were actively working. You will
continue to have benefit deductions through your weekly pay. During any unpaid portion of your leave, weekly benefit
deductions will be recorded and collected when you return from leave.

Continuing Disability: If your disability will keep you from work for longer than 6 months, you may apply for Long Term
Disability benefits. Unum will contact you about this process and may request updated medical information. If you have
questions regarding Long Term Disability and the impact on benefits, please contact Rhonda Killoren in the Mass General
Brigham Benefits office at 617-724-9855.

Life Insurance Coverage: You may be eligible to continue your Life insurance coverage(s) and have your premium waived
while you are disabled. If you are not enrolled in Long-Term Disability Plan offered through Mass General Brigham please
contact MetLife at 800-300-4296 to start the coverage continuation proces s for supplemental life and/or basic life insurance. If
you are enrolled in the Long-Term Disability Plan offered through mass General Brigham, MetLife will start the claim process
on your behalf for supplemental life and/or basic life insurance. In order to be eligib le, you must be totally disabled for at least 6
months before initiating this process.

Return to Work: Please contact your manager at least two weeks prior to your anticipated return to discuss your schedule. For
the duration of your leave, you will be in the centralized timekeeping workgroup. When you return from leave, you will be
returned to your regular workgroup.

When you return from leave, you will return to your current or equivalent position. Prior to returning fro m a medical leave , you
must provide Occupational Health Services (OHS) with a written medical clearance from your healthcare provider. You must
call OHS to schedule an appointment at least 72 hours prior to your scheduled return to work date to have your return to work
clearance paperwork reviewed. OHS is open Monday through Friday between 7am and 5pm.
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From:
Sent: Friday, October 15, 2021 9:12 AM
To: Chen, Dee Dee A. <DDCHEN@PARTNERS.ORG>; MGB Religious Exemptions Committee
<MGBReligiousExemptions@PARTNERS.ORG>
Subject: Confidential

Hi again Dee Dee,
Again, could you please send me this information regarding this new process that you referred
to?
Or refer me to who is responsible to provide this information to the employees.
This is a time sensitive as I’m sure you can understand so can you please either assist me or let
me know who can.

Thank you,




Sent: Wednesday, October 13, 2021 2:18 PM
To: Chen, Dee Dee A. <DDCHEN@PARTNERS.ORG>
Subject: Fw: 2nd request




                   October 6, 2021 2:53 PM
To: MGB Religious Exemptions Committee <MGBReligiousExemptions@PARTNERS.ORG>
Subject: Re: 2nd request

Thank you for that information but I'm asking about this in particular; "We have implemented
a new process this year."
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Process in past vs. “new process”

Thank you Dee Dee



From: MGB Religious Exemptions Committee <MGBReligiousExemptions@PARTNERS.ORG>
Sent: Wednesday, October 6, 2021 1:51 PM
                                                         MGB Religious Exemptions
Committee <MGBReligiousExemptions@PARTNERS.ORG>
Subject: RE: 2nd request

                     ,

Your request for an exemption was carefully reviewed by an MGB-wide committee that thoroughly
evaluated each submission based upon the information provided and following appropriate legal
requirements. The decisions of the committee are final, and there is no appeal process.

Kindest Regards,

Dee Dee




Sent: Wednesday, October 06, 2021 12:48 PM
To: MGB Religious Exemptions Committee <MGBReligiousExemptions@PARTNERS.ORG>
Subject: 2nd request

2nd request for explanation




Sent: Monday, October 4, 2021 2:26 PM
To: MGB Religious Exemptions Committee <MGBReligiousExemptions@PARTNERS.ORG>
Subject: Further info required

Still not following
Please explain "new process" implementation




From: MGB Religious Exemptions Committee <MGBReligiousExemptions@PARTNERS.ORG>
Sent: Monday, October 4, 2021 1:59 PM
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                                                               MGB Religious Exemptions
Committee <MGBReligiousExemptions@PARTNERS.ORG>
Subject: RE: RE:

                      ,

You have received religious exemptions in the past, however, they do not carry over from one year
to the next. We have implemented a new process this year to evaluate requests for religious
exemptions and this year your request is denied.

Kindest Regards,

Dee Dee



Sent: Friday, October 01, 2021 10:22 PM
To: MGB Religious Exemptions Committee <MGBReligiousExemptions@PARTNERS.ORG>
Subject: Re: RE:

I’m very confused. Can you please explain?
Thank you




From: MGB Religious Exemptions Committee <MGBReligiousExemptions@PARTNERS.ORG>
Sent: Friday, October 1, 2021 2:00 PM
                                                        ; MGB Religious Exemptions
Committee <MGBReligiousExemptions@PARTNERS.ORG>
Subject: RE:

                      ,

Religious exemptions do not carry over from one year to the next. We have implemented a new
process this year to evaluate requests for religious exemptions.

As your request for a religious exemption from COVID-19 and/or flu vaccination has been
reviewed and was denied, we hope that you reconsider and receive the vaccine within the
required time periods.

Kindest Regards,

Dee Dee


From:                          <                         >
Sent: Thursday, September 30, 2021 1:25 PM
To: MGB Religious Exemptions Committee <MGBReligiousExemptions@PARTNERS.ORG>
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Subject:

Religious exemption is on file.
Thank you,




From: MGB Religious Exemptions Committee <MGBReligiousExemptions@PARTNERS.ORG>
Sent: Monday, September 27, 2021 10:28 AM
To:                                                    >; MGB Religious Exemptions
Committee <MGBReligiousExemptions@PARTNERS.ORG>
Subject: RE: MGH Religious Exemption Request

Dear                   ,

Thank you for providing additional information.

Unfortunately, your request for a religious exemption from COVID-19 and/or flu vaccination has
been reviewed by the exemptions committee and is denied. Information about ongoing vaccine
clinics can be found here.

Kindest Regards,

Dee Dee


From:                                                    >
Sent: Friday, September 24, 2021 3:38 PM
To: MGB Religious Exemptions Committee <MGBReligiousExemptions@PARTNERS.ORG>
Subject: Re: MGH Religious Exemption Request

Good afternoon Dee Dee,
Thank you for your response.



My beliefs are between me and God who teaches my beliefs are not to be scrutinized nor denied by
any man. He is my Supreme Ruler, not the Pope, nor the President, not any human. The government
can not be the arbiter of which Catholic is correct. This would violate the establishment clause of the
First Amendment as well as Article II.



The Bible informs all believers that our body is a Temple. Receiving a medical treatment against my
will violates my body, and removes my free will as God has intended for me. I recognize God as my
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ultimate authority in all things and that He has delegated to each of us authority over our own lives
and choices, matters of health, including that of vaccines. I hold that the serious and potentially
eternal consequences attached to my choices strongly outweigh any dictate of government to the
contrary. “My Body, My Choice”.



I have been granted religious exemptions in the past as is noted in my MGH record. My beliefs have
further evolved and have allowed me to possess even greater knowledge in this area, which is why I
continue on this path of not harming my body. My faith requires that when I recognize an action to
be wrongful, that I repent. Having committed a sin in the past is not an excuse to continue doing so.
We are commanded to go and sin no more.
Thank you for your time.



Sincerely,




From: MGB Religious Exemptions Committee <MGBReligiousExemptions@PARTNERS.ORG>
Sent: Friday, September 24, 2021 1:57 PM
To:                                                    >; MGB Religious Exemptions
Committee <MGBReligiousExemptions@PARTNERS.ORG>
Subject: RE: MGH Religious Exemption Request

Dear                   ,

Your request for a religious exemption from COVID-19 and/or flu vaccination has been received, but
requires additional information. You named your religion as a practicing Catholic, but did not explain
how your religious beliefs prevent you from receiving a COVID-19 and/or flu vaccine. Moreover,
your religion has publicly supported vaccination. Please provide an additional explanation so that we
may further consider your request. In particular, please explain how, in light of your religion’s public
support of vaccination, your faith prevents you from receiving a vaccine. Please also provide any
supporting documentation that you believe will be relevant to further consideration of your request,
including evidence that you have a history of religious exemption to vaccines. If you have received
vaccines in the past, please explain why your religion did not prevent you from receiving vaccines in
the past and now will not allow for COVID-19 and/or flu vaccination. If your response is not received
by September 27 your request for an exemption will be denied. Information about ongoing vaccine
clinics can be found here.

Kindest Regards,

Dee Dee
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From:                                                    >
Sent: Wednesday, September 22, 2021 6:39 PM
To: MGB Religious Exemptions Committee <MGBReligiousExemptions@PARTNERS.ORG>
Subject: Re: MGH Religious Exemption Request

Thank you Dee Dee.

I did not meet this deadline due to an unforeseen circumstance. My smartphone, which I use
for email, broke.
As soon as I had an alternate device, I submitted.

Thank you,


From: MGB Religious Exemptions Committee <MGBReligiousExemptions@PARTNERS.ORG>
Sent: Wednesday, September 22, 2021 2:37 PM
To: MGB Religious Exemptions Committee <MGBReligiousExemptions@PARTNERS.ORG>
Subject: MGH Religious Exemption Request

Dear MGH Colleague,

Your request for a religious exemption from COVID-19 vaccination has been received, but requires
additional information. The deadline to submit a request for a religious exemption from the COVID
vaccine was September 3, 2021. Please provide an explanation why you did not meet this deadline?
If your response is not received by September 27, your request will be denied.

Kindest Regards,

Dee Dee (on behalf of MGB Religious Exemption Review Committee)
The information in this e-mail is intended only for the person to whom it is addressed. If you
believe this e-mail was sent to you in error and the e-mail contains patient information, please
contact the Mass General Brigham Compliance HelpLine at
http://www.massgeneralbrigham.org/complianceline . If the e-mail was sent to you in error but
does not contain patient information, please contact the sender and properly dispose of the e-
mail.


Please note that this e-mail is not secure (encrypted). If you do not wish to continue
communication over unencrypted e-mail, please notify the sender of this message
immediately. Continuing to send or respond to e-mail after receiving this message means you
understand and accept this risk and wish to continue to communicate over unencrypted e-
mail.
